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                 EXHIBIT B-046
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                                                                             FILEDINOFFICE
                  IN THE SUPERIOR COURT OF FULTON COUNTY
                             STATE OF GEORGIA

                                                                             DEPUTY ERKSUPERiOR
                                                                                              COURT
IN RE 2 MAY 2022       SPECIAL PURPOSE                                           FLJLTOI\ COUNT,-. (_;;1

GRAND JURY                                             2022-EX-000024




ADDENDUM TO ORDER DISQUALIFYING DISTRICT ATTORNEY'S OFFICE

       On 25 July 2022, this Court entered an Order disqualifying the Office of the District

Attorney of Fulton County from any further investigation into State Senator Burt Jones's

alleged participation in efforts to interfere with the lawful administration of the

November 2020 general election in Georgia. In its Order, the Court identified the State

Attorney General's Office as the entity responsible for designating a replacement

prosecuting authority (if one were to be appointed). Until recently, that was a correct

assignment. However, as of 1 July 2022, an amended O.C.G.A. § 15-18-5 now places upon

the Prosecuting Attorneys' Council of the State of Georgia the responsibility for making a

replacement assignment -- and the Court's Order should have reflected this change. With

this addendum, it now does.

       SO CLARIFIED this 26 th day of July 2022.




                                                   J dge obert C.I. McBurney
                                                   Superior Court of Fulton County
                                                   Atlanta Judicial Circuit
